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                                  MAGISTRATE JUDGE'S MINUTES
                        IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF ARIZONA – FLAGSTAFF
U.S. Magistrate Judge: Camille D. Bibles         Date: October 18, 2022
USA v. Matthew Christopher Riser                 Case Number: CR-22-08054-001-PCT-CDB

Assistant U.S. Attorney: Wayne Venhuizen for Patrick Joseph Schneider
Attorney for Defendant: Daniel Benjamin Kaiser, CJA
Interpreter: N/A
Defendant: ☐ Present ☒ Not Present ☒ Released ☐ Custody ☐ Summons ☐ Writ

STATUS HEARING:
Defense counsel waives Defendant’s appearance. Defense Counsel advises the Court that the defendant
is doing very well and has been transferred from Good Neighbors to Inman House.

Oral Motion to Dismiss the Petition Without Prejudice by the Government and no objection by Defense
Counsel. Government also moves to vacate the release conditions regarding residency at Good
Neighbors.

Oral Order by the Court granting Motion to Dismiss Petition Without Prejudice and also vacates the
release conditions regarding residency at Good Neighbors.

Recorded By Courtsmart                                                         SH     4 min
Deputy Clerk Christina Davison
                                                                               Start: 9:58 am
                                                                               Stop: 10:02 am
